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     UNITED STATES DISTRICT COURT FOR THE
     EASTERN DISTRICT OF NEW YORK                                          Honorable
     --------------------------------------------------------------------X Joan M. Azrack, USDJ
     ANTHONY LUPO,

                                        Plaintiff,                           AMENDED COMPLAINT

                      -against-                                              15 Civ-2426


     ZWANGER & PESIRI RADIOLOGY GROUP, LLP
     and ZWANGER RADIOLOGY, P.C.

                                         Defendants.
     --------------------------------------------------------------------X


                              STATEMENT OF PLAINTIFF’S CLAIMS

          1. Plaintiff filed the Original Complaint in this action alleging that Defendants

              violated his rights under Americans with Disabilities Act, 42 U.S.C. Section

              12182 et seq. and 42 U.S.C. Section 12204 et seq. (hereinafter, “ADA”); the

              Rehabilitation Act of 1973, as Amended, 29 U.S.C. § 794, and the New York

              State Executive Law § 296 (hereinafter, “Human Rights Law”), when on March

              12, 2015 he was subjected to unlawful discrimination because of Defendants’

              failures to provide him with an equal opportunity to access to their radiological

              services and equipment when he sought an ultrasound examination at Defendants

              facility located at 2500 Nesconset Highway, Building 15, Stony Brook, NY

              11790 (hereinafter, “Premises 1”).

          2. Although Defendants were duly served with the Summons and Complaint on

              May 12, 2015, no Answer or appearance has been filed by either Defendant to

              date.




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        3. This Amended Complaint is filed as a Matter of Course pursuant to Fed.R.Civ.P.

             15(a)(1) because Plaintiff was subjected to virtually the same discriminatory

             treatment by Defendants on June 18, 2015 at Defendants facility located at 220

             Belle Meade Road, East Setauket, New York (hereinafter, “Premises 2”).

        4. Plaintiff seeks declaratory and injunctive relief, compensatory damages, and

             attorney’s fees and costs against the Defendants.

                                                PARTIES

        5. Plaintiff ANTHONY LUPO (hereinafter, “LUPO”) is a resident of Centereach in

             Suffolk County, New York. He is an individual with a disability called Cerebral

             Palsy.   As a result of his disability, the Plaintiff cannot walk and uses a

             motorized wheelchair to assist in his mobility.

        6. Defendant ZWANGER & PESIRI RADIOLOGY GROUP, LLP is an active

             domestic registered limited liability partnership duly organized and existing

             under and by virtue of the laws of the State of New York.

        7. Upon information and belief, Defendant ZWANGER & PESIRI RADIOLOGY

             GROUP, LLP provides radiology services at approximately 17 offices in Nassau

             and Suffolk Counties, including Premises 1 and Premises 2.

        8. Defendant ZWANGER RADIOLOGY, P.C. is an active domestic professional

             corporation duly organized and existing under and by virtue of the laws of the

             State of New York.

        9.   Upon information and belief, Defendants ZWANGER & PESIRI RADIOLOGY

             GROUP, LLP and ZWANGER RADIOLOGY, P.C. (collectively, hereinafter




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           "ZWANGER") provide radiology services to the general public at Defendants’

           17 facilities.

                                  VENUE AND JURISDICTION

        10. This Court has jurisdiction pursuant to 28 U.S.C. Sections 1331 and 2201 and

           through the ADA.

        11. This Court has venue through the residence of the Plaintiff and the business

           activities of the Defendants in Suffolk County, New York.

                            ALLEGATIONS COMMON TO ALL CLAIMS

        12. Plaintiff is 54 years of age. He cannot bear any weight at all on his legs and has

           very limited use of his upper extremities. Consequently, he cannot transfer

           independently from his wheelchair to any type of medical table or equipment

           intended to contain his body during an examination.

        13. At various times when Plaintiff has gone to hospitals for examination or

           treatment which occurs on a table or bed, the table or bed is typically adjustable

           in height which permits it to be brought down to the approximate height of

           Plaintiff’s wheelchair seat, whereupon a transfer to the table or bed can be

           accomplished by a single nurse or medical technician.

        14. While non-hospital medical facilities used by Plaintiff often do not have

           adjustable examination tables for Plaintiff’s use during examinations, they

           typically provided other equipment or devices that assisted Plaintiff in

           transferring to an examination table, or provided employees who were

           adequately trained to carry Plaintiff onto an examination tables.

        15. Plaintiff has been using services provided by Defendants since 2007.



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        16. According to Defendants’ website, they use diagnostic tables and equipment in

           their facilities which are comparable or better than similar tables or equipment

           used by most area hospitals as well as competitor radiological facilities.

        17. According to that same website, Defendants strive to surpass every hospital,

           health system, multi-specialty practice and radiology practice in Long Island in

           virtually every facet of radiology.

        18. Defendants update themselves on advances in radiological medical equipment

           and technologies, including diagnostic examination tables, and ensure that such

           equipment is replaced at a rate which will maintain their corporate goal to

           practice radiology in a manner that surpasses all other providers in Long Island.

        19. As alleged in this Amended Complaint, Defendants corporate promises exclude

           Plaintiff and other individuals with severe disabilities who require assistance

           getting onto and off of examination tables.

        20. Defendants own and/or operate the Zwanger-Pesiri Radiology facilities located

           at Premises 1 and Premises 2.

        21. Premises 1 was constructed and first occupied by Defendants after January 26,

           1993.

        22. Premises 2 was constructed and first occupied by Defendants after January 26,

           1993.

        23. Defendants opened their offices at Premises 1 on or about January 2012.

        24. Defendants opened their offices at Premises 2 between 2004 and 2007.




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        25. Upon information and belief, Premises 1 and Premises 2 were altered for

           Defendants’ use as a radiological diagnostic medical services facility after

           January 26, 1993.

        26. Premises 1 and Premises 2 complained of herein are places of public

           accommodation within the definition of that term provided in 28 C.F.R. Section

           36.104.

        27. In preparation for opening their offices at Premises 1 and Premises 2 Defendants

           purchased new radiology diagnostic equipment, including new sonogram tables.

        28. The radiology diagnostic equipment purchased by Defendants for use in

           Premises 1 and Premises 2 are intended for continuous, permanent use in the

           Premises until the equipment is no longer functional or current.

        29. Defendants provide a wide array of radiology services including MRI, CT, PET,

           Mammography and ultrasound (sonogram) services.

        30. Many of Defendants’ radiology services are provided while patients lie down in

           a prone or supine position on tables designed for use with radiological

           equipment.

        31. In the event that some of the radiology equipment and related tables used in the

           Premises 1 and Premises 2 were not newly purchased when the Defendants first

           occupied the Premises for business, all such equipment and tables were

           purchased new after January 26, 1993.

        32. Examination tables and radiological equipment are equipment and personal

           property purchased for use by the public and fall within the definition of

           “facility” as that term is defined in 28 C.F.R. Section 36.104 : “Facility means all



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           or any portion of buildings, structures, sites, complexes, equipment, rolling stock

           or other conveyances, roads, walks, passageways, parking lots, or other real or

           personal property, including the site where the building, property, structure, or

           equipment is located.”

        33. Accessible (adjustable) sonogram tables are commercially available for sale by

           multiple vendors of sonogram medical equipment. A simple internet search will

           provide options, features and pricing for multiple vendors of sonogram tables

           which includes height adjustable models.

        March 12, 2015 Incident:

        34. On March 12, 2015, the Plaintiff went to Premises 1 for a sonogram.

        35. Plaintiff arrived at the Premises with a personal care aide. He was escorted into

           the sonogram machine room where there was a sonogram table. Plaintiff asked

           an employee of the Defendants if the table could be adjusted in height to the

           approximate level of his wheelchair seat to facilitate his transfer onto and off of

           the table.

        36. Plaintiff was told that height of the sonogram table could not be adjusted.

        37. The sonogram table appeared to Plaintiff to be approximately 36 inches above

           the floor.

        38. Plaintiff’s wheelchair seat is approximately 18 inches above the floor.

        39. LUPO asked an employee of ZWANGER if they had another table that could be

           lowered to the desired height.

        40. The employee responded, "No."




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        41. Plaintiff then asked whether the Defendants would provide assistance getting

           onto and off of the table from his wheelchair.

        42. Defendant’s employee did not provide a response to this request.

        43. Plaintiff could not get onto or off of the table without assistance.

        44. When no adjustable table is provided to facilitate Plaintiff’s transfer onto the

           table, a medical facility would have to provide other assistive devices such as

           Hoyer lifts, adjustable Stryker beds or stretchers which could achieve the same

           result.

        45. If no adjustable bed or assistive device is provided, then transfer is much more

           difficult and more dangerous to the Plaintiff and to persons performing the

           transfer. Transfer without an adjustable table or assistive device should be

           accomplished by two persons trained in lifting deadweight who would lift the

           Plaintiff’s entire body out of his wheelchair, carry his body over to the table, lift

           his lower body up onto the table, and then position him prone or supine on the

           table. When the test is completed the transfer is reversed.

        46. If the table were adjustable, Plaintiff would merely have to align his chair

           alongside and parallel to the table and then slide his body off of his chair onto the

           table with minimal assistance.

        47. When met with silence from Defendants nurse to his request for assistance

           transferring onto the sonogram table, Plaintiff concluded that Defendants could

           not or would not provide him with assistance getting onto the sonogram table. In

           light of the fact that cancellation of the examination would not be in his best




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           medical interest, Plaintiff reluctantly asked his personal care aide to perform the

           transfer by himself.

        48. Plaintiff’s personal care aide on that day was a very large and strong man who

           had assisted Plaintiff before in such transfers when no other means were

           available. Despite the aide’s size and training in performing such transfers a

           heightened risk of injury to both the Plaintiff and his aide existed from such a

           transfer. If the aide dropped the Plaintiff in the course of such a transfer he could

           sustain severe personal injury or even death. The aide could also sustain back or

           joint injury.

        49. The risk of injury to Plaintiff and the aide are reasons why the entity who pays

           Plaintiff’s personal care aide has instructed him not to attempt such transfers

           except in the case of an emergency.

        50. Plaintiff’s personal care aide successfully lifted Plaintiff onto and off of the

           sonogram table.

        June 18, 2015 Incident:

        51. Plaintiff’s physician scheduled an MRI for him at Premises 2 on June 18, 2015 to

           check for possibility of a blood clot in one of Plaintiff’s lungs.

        52. When Plaintiff arrived he was escorted quickly into the sonogram room. He saw

           a table very similar to the sonogram table present at Premises 1 on March 12,

           2015. He learned quickly that the sonogram table in Premises 2 was also not

           adjustable.

        53. Plaintiff asked a sonogram nurse or technician employed at Premises 2 if the

           sonogram test could be performed while Plaintiff sat in his wheelchair. Plaintiff



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           was informed that the test could not adequately be performed while he sat in his

           chair.

        54. The nurse/technician said that Plaintiff would have to get onto the sonogram

           table and then asked Plaintiff’s aide if he could transfer Plaintiff to the table.

        55. Plaintiff replied that his aide was not supposed to pick him up and carry him onto

           the sonogram table. Plaintiff then asked the nurse/technician if she could get

           some help to transfer him onto the sonogram table.

        56. The nurse/technician left and returned with two men. Upon information and

           belief, these men were employees of Defendants.

        57. One of the men asked Plaintiff “How much weight can you bear?”

        58. Plaintiff replied that he could not bear any weight on his legs.

        59. The man then asked Plaintiff “What can you do?”

        60. Plaintiff replied that there was not much he could do to help the two men.

        61. Plaintiff then expected the two men to tell him how they would accomplish the

           transfer. Instead he was met with awkward silence from the men.

        62. It became apparent that the men were uncomfortable attempting to transfer the

           Plaintiff to the sonogram table and were obviously not trained adequately in how

           to accomplish a transfer of patients with no ability to assist in their own transfer

           (deadweight transfer).

        63. At this point Plaintiff did not feel safe permitting the two men to transfer him

           onto and off of the sonogram table. He asked his personal care aide to perform

           the transfer rather than return home to re-schedule the sonogram test at a facility




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          with an adjustable table, alternate auxiliary assistive devices, or willing and

          adequately trained employees who could perform the necessary transfers.

       64. It would not have been in Plaintiff’s best medical interest to delay performance

          of the sonogram test.

       65. The aide who assisted Plaintiff on June 18, 2015 was the same aide who

          accompanied him on March 12, 2015.

       66. Plaintiff’s other personal care aides do not possess the physical strength of the

          aide who accompanied Plaintiff on March 12, 2015 and June 18, 2015, and could

          not have safely transferred him from his wheelchair to the sonogram table.

       67. Plaintiff experienced humiliation and anger, cumulatively, as a result of the

          Defendants’ repeated failures to accommodate his disability. The humiliation and

          anger was made more acute by the fact that Plaintiff had previously filed a

          similar complaint against the Defendants arising out of an incident in 2007 at

          Premises 2 which resulted in an agreement by Defendants to provide non-

          discriminatory treatment to individuals with disabilities, assistance in

          transferring, and proper training to employees to achieve those promises.

       68. Unlike other patients who use Defendants' radiological services and do not have

          disabilities, Plaintiff and his personal care aide were subjected to a risk of serious

          injury just to obtain a needed diagnostic test. Plaintiff’s only other choice would

          have been to return home without having the needed test performed.

       69. Upon information and belief, all manufacturers of tables used in conjunction

          with radiological equipment provide models that are adjustable in height which




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          are designed to accommodate individuals who use wheelchairs or who are small

          in stature.

       70. Adjustable tables have been available commercially for many years.

       71. Prior to the advent of height adjustable examination tables, physicians and

          medical providers used Hoyer lifts or other auxiliary assistive devices and/or

          employees trained in lifting patients with disabilities.

       72. The accommodations requested by the Plaintiff from Defendants were therefore

          reasonable.

                              AS AND FOR A FIRST CAUSE OF
                            ACTION UNDER TITLE III OF THE ADA

       73. Plaintiff repeats and re-alleges paragraphs one (1) through seventy-two (72) and

          incorporates same herein as if fully set forth.

       74. The failure to provide height adjustable examination tables for use with

          radiological examinations is an example of a violation by Defendants of the

          barrier removal obligation placed upon the Defendants by Title III of the ADA in

          order to permit equivalent access by the Plaintiff and other individuals with

          disabilities to the radiological facilities provided by the Defendants to the general

          public. 42 U.S.C. § 12182(b)(2)(A)(iv); 28 C.F.R. § 36.304(a) and 28 C.F.R. §

          36.304(b)(4).

       75. Defendants also had an obligation to install new facilities, including newly

          purchased medical equipment necessary for the performance of medical services,

          for all facilities newly constructed after January 26, 1993 and new equipment

          purchased after January 26, 1993 provided that procurement and installation of




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          the new equipment is not structurally impracticable. 42 U.S.C. § 12183(a)(1); 28

          C.F.R. § 36.401.

       76. Defendants also had an affirmative obligation to provide the Plaintiff and other

          similarly situated individuals with disabilities with auxiliary aids and services

          adjunct to the use of radiological diagnostic equipment, where necessary to avoid

          providing unequal access to Defendants’ radiological services. 42 U.S.C. §

          12182(b)(2)(A)(iii); 28 C.F.R. § 36.303(a) and 28 C.F.R. § 36.303(b)(3),(4).

       77. A height adjustable examination table is an example of an aid auxiliary to the use

          of the sonogram diagnostic equipment that was readily available to the

          Defendants.

       78. Defendants also had an obligation under 42 U.S.C. § 12182(b)(2)(A)(v); 28

          C.F.R. § 36.305 to provide alternatives to the removal of barriers to access to its

          facilities not capable of redress by any of the foregoing sections of Title III of the

          ADA. An example of an alternative to barrier removal would be the use of a

          Hoyer lift or other auxiliary assistive device by employees of the Defendant.

       79. Defendants’ failures to comply with Title III of the ADA as set forth above

          constitute discrimination against the Plaintiff in violation of 42 U.S.C. §

          12182(a); 42 U.S.C. § 12182(b)(1)(A)(iii); 42 U.S.C. § 12182(b)(1)(A)(iv); 42

          U.S.C. § 12182(b)(1)(A)(v) and 42 U.S.C. § 12183(a).

       80. Title III of the ADA has been in effect since 1992. Defendants actually knew

          they were obligated to comply with Title III by ensuring the provision of

          accessible radiology services to the Plaintiff and other individuals with

          disabilities at least since 2008 when the Plaintiff previously complained about



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          their failure to provide him with accessible radiology services. Defendants’

          violations of the ADA are therefore knowing and intentional.

       81. The Plaintiff is highly likely to require radiology services again in the future. The

          Plaintiff will seek such services in the first instance from the Defendants because

          of the proximity of Premises 1 and Premises 2 to Plaintiff’s home and because of

          the vast array of high quality radiology diagnostic equipment provided at

          Defendants’ radiology facilities.

       82. Plaintiff is entitled to declaratory and injunctive relief, and attorney’s fees and

          costs for Defendants’ violations of Title III of the ADA. Such relief is

          appropriate and necessary to ensure that Defendants will not continue to violate

          Plaintiff’s rights under Title III of the ADA in the future.

                     FOR A SECOND CAUSE OF ACTION UNDER THE
                      REHABILITATION ACT OF 1973, AS AMENDED

       83. Plaintiff repeats and re-alleges paragraphs one (1) through eighty-two (82) and

          incorporates same herein as if fully set forth herein.

       84. Plaintiff is a recipient of Medicaid insurance which pays for all of his medical

          treatment, including the sonogram examinations performed by Defendants on

          March 12, 1015 and June 18, 2015.

       85. Medicaid is a federal health welfare program administered with federal and state

          funds which provides health care and medical treatment for individuals who are

          indigent and/or suffer from severe, chronic disabilities.

       86. Upon information and belief, Defendants billed Medicaid for Plaintiff’s

          sonograms and received payment for same by Plaintiff’s Medicaid Health

          Maintenance Organization.

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       87. Defendants receive Medicaid funds for radiological services and are therefore

          “recipients” of “federal financial assistance” as those terms are defined in 45

          C.F.R. §§ 84.3(f) and (h).

       88. The Rehabilitation Act of 1973, As Amended, 29 U.S.C. § 794 (hereinafter,

          “Rehabilitation Act”), requires recipients of federal financial assistance or

          payments to refrain from discrimination against the Plaintiff and other

          individuals with disabilities on the basis of disability.

       89. The Rehabilitation Act requires new and existing facilities to be accessible to

          individuals with disabilities. The Rehabilitation Act also requires alternatives to

          the removal of physical barriers in facilities and the provision of auxiliary aids

          and services.

       90. The Rehabilitation Act provisions at issue in this case will be interpreted in

          tandem with correspondent sections of Title III of the ADA at issue in this case.

       91. On March 12, 2015 and again on June 18, 2015, Defendants and their employees

          were deliberately indifferent to Plaintiff’s medical and safety needs in the receipt

          of sonogram radiological services, and his right to be treated equally with respect

          to non-disabled individuals.

       92. Plaintiff is entitled to compensatory damages, declaratory and injunctive relief,

          and attorney’s fees and costs for Defendants’ violations of the Rehabilitation

          Act. Such relief is appropriate and necessary to redress the repeated, recalcitrant

          discrimination experienced by the Plaintiff and to ensure that Defendants will not

          continue to violate Plaintiff’s rights under the Rehabilitation Act in the future.




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                        FOR A THIRD CAUSE OF ACTION UNDER THE
                          NEW YORK STATE HUMAN RIGHT LAW

       93. Plaintiff repeats and re-alleges paragraphs one (1) through ninety-two (92) and

          incorporates same herein as if fully set forth.

       94. The Human Rights Law provides equivalent or greater civil rights protections for

          persons with disabilities than are provided by Title III of the ADA, including the

          right to compensatory damages.

       95. Defendants discriminated against the Plaintiff in violation of the Human Rights

          Law by their failure to provide a height adjustable table for use with Plaintiff’s

          sonogram test, or to provide alternatives to removal of barriers to Plaintiff’s

          ability to undergo a sonogram at Defendants facilities that would have permitted

          the Plaintiff to have an equal opportunity to access Defendants’ radiology

          services.

       96. Plaintiff is entitled to compensatory damages, declaratory and injunctive relief,

          and attorney’s fees and costs for Defendants’ violations of the New York State

          Human Rights Law. Such relief is appropriate and necessary to redress the

          discrimination experienced by the Plaintiff and to ensure that Defendants will not

          continue to violate Plaintiff’s rights under the Human Rights Law in the future.

                                       INJUNCTIVE RELIEF

       97. Injunctive relief is necessary to order the Defendants to cease their violations of

          Plaintiff’s rights under the ADA, Rehabilitation Act and New York State Human

          Rights and to provide Plaintiff with specific relief to prevent further violations of

          Plaintiff’s rights.




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       98. There are reasonable grounds, set forth above, to believe that the Defendants will

          continue to engage in acts and practices prohibited by the foregoing federal and

          state laws complained of herein if injunctive relief is not granted.

                                    DECLARATORY RELIEF

       99. Plaintiff is entitled to a declaratory judgment specifying each of the Plaintiff’s

          rights under the ADA, Rehabilitation Act and New York State Human Rights

          Law pertaining to violations of those federal and state laws committed by the

          Defendants and each of the Plaintiff’s rights to relief as against the Defendants.

                                         DAMAGES

       100.      Plaintiff requests FIFTY THOUSAND DOLLARS ($50,000.00) in

          compensatory damages for Defendant’s violations of Plaintiff’s rights under the

          Rehabilitation Act and the New York State Human Rights Law.

                                ATTORNEY’S FEES AND COSTS

       101.      Plaintiff had to retain counsel in order to enforce his rights under the

          ADA, Rehabilitation Act and New York State Human Rights Law. The

          undersigned counsel is entitled to recover attorney’s fees, costs and expenses if

          the Plaintiff prevails within the meaning of 42 U.S.C. § 12204 in this lawsuit.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for the following relief from the Court:

         A.      Issue a permanent injunction against Defendants, requiring Defendants

                 and their agents, servants and employees, and all persons or entities in

                 active concert therewith, to make all necessary modifications to

                 Defendants’ facilities, equipment, policies and practices necessary to



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                  eliminate all barriers that deny lawful access by Plaintiff to Defendants’

                  Premises and to the radiology services provided thereat.

         B.       Enter declaratory judgment in favor of the Plaintiff specifying his rights

                  under the ADA, Rehabilitation Act and New York State Human Rights

                  Law as against Defendants and Defendants’ violations of the ADA,

                  Rehabilitation Act and New York State Human Rights Law.

         C.       Award compensatory damages in the amount of FIFTY THOUSAND

                  DOLLARS ($50,000.00) to Plaintiff.

         D.       Find that Plaintiff is a prevailing party in this lawsuit and award attorney’s

                  fees, costs and expenses, and such other and further relief, at law or in

                  equity, to which the Plaintiff may be justly entitled.


         Dated:          Woodbury, New York
                         July 1, 2015


                                                 /s/
                                                 ___________________________________
                                                 Martin J. Coleman, Esq. (MJC 7945)
                                                 Attorney for Plaintiff
                                                 100 Crossways Park West, Suite 412
                                                 Woodbury, New York 11797
                                                 (516) 802-5960




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